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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
    v.                             )         2:12cr48-MHT
                                   )              (WO)
MICHAEL SMITH                      )

                                ORDER

    Based upon consideration of the recommendation of the

United States Magistrate Judge (Doc. No. 153) and the

objection filed by defendant Michael Smith (Doc. No.

153); and after an independent and de novo review of the

record, including the transcript of the hearing before

the magistrate judge, it is the ORDER, JUDGMENT, and

DECREE of the court:

    (1) That defendant Michael Smith’s objection (Doc.

No. 194) is overruled;

    (2) That the recommendation of the United States

Magistrate Judge (Doc. No. 153) is adopted; and
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    (3) That defendant Smith’s motion to dismiss for

multiplicity (Doc. No. 114) is denied with leave to renew

if the evidence at trial warrants reconsideration.

    DONE, this the 6th day of May, 2013.

                                       /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
